     Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 1 of 6



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 6                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
 7

 8   RITA LEGER, individually; et al., and on        )       Case # 2:20-cv-02274-RFB-NJK
     behalf of other members of the general          )
 9                                                   )
     public similarly situated                       )       VERIFIED PETITION FOR
10                    Plaintiff(s),                  )       PERMISSION TO PRACTICE
                                                     )       IN THIS CASE ONLY BY
11           VS.                                     )       ATTORNEY NOT ADMITTED
                                                     )       TO THE BAR OF THIS COURT
12   LANDRY'S INC. d/b/a GOLDEN                      )       AND DESIGNATION OF
     NUGGET, and DOES 1 through 25,                  )       LOCAL COUNSEL
13                                                   )
                        Defendant(s).                )
14                                                   )       FILING FEE IS $250.00

15

16                  Melisa H. Panagakos            , Petitioner, respectfully represents to the Court:
                     (name of petitioner)
17
             1.         That Petitioner is an attorney at law and a member of the law firm of
18
                                               Jackson Lewis P.C.
19                                                  (firm name)

20    with offices at                             950 17th Street, Suite 2600
                                                       (street address)
21
                           Denver                                  Colorado                      80202
22                         (city)                                   (state)                     (zip code)

23             (303) 892 0404                   Melisa.Panagakos@Jacksonlewis.com
       (area code + telephone number)                     (Email address)
24
             2.         That Petitioner has been retained personally or as a member of the law firm by
25
                           Landry's Inc.                  to provide legal representation in connection with
26                      [client(s)]

27    the above-entitled case now pending before this Court.

28                                                                                                       Rev. 5/16
      Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 2 of 6




  1           3.      That since      November 4, 2013        , Petitioner has been and presently is a
                                             (date)
       member in good standing of the bar of the highest Court of the State of             Colorado
                                                                                            (state)
       where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
 4     from the clerk of the supreme court or highest admitting court of each state, territory, or insular

 5     possession of the United States in which the applicant has been admitted to practice law certifying

 6     the applicant's membership therein is in good standing.
 7            4.      That Petitioner was admitted to practice before the following United States District
 8     Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
 9     of other States on the dates indicated for each, and that Petitioner is presently a member in good

       standing of the bars of said Courts.
                              Court                              Date Admitted            Bar Number
               U.S. Court of Appeals, 10th Circuit                 10/17/2014                 46540

1;            U.S. District Court, Colorado District               5/16/2014                  46540

14                          Colorado                               11/4/2013                  46540

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              5.      That there are or have been no disciplinary proceedings instituted against petitioner.
20
       nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
21
       or administrative body, or any resignation or termination in order to avoid disciplinary or

       disbarment proceedings, except as described in detail below:
       None
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25
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                                                                                                      Rev. 5/16
        Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 3 of 6




                 6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give

         particulars if ever denied admission):

         None
    4



                 7.       That Petitioner is a member of good standing in the following Bar Associations.

        Colorado




I                8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2
II       (formerly LR IA 10-2) during   the past three (3) years in the following matters: (state "none" if no applications.)

12       Date of Application                  Cause                         Title of Court                Was Application
                                                                          Administrative Body               Granted or
13                                                                          or Arbitrator                     Denied
14        None

15




I9                          (11 necessary, please attach a statement of additional applications)
2(1              9.       Petitioner consents to the jurisdiction of the courts and disciplinary boards of the

21       State of Nevada with respect to the law of this state governing the conduct of attorneys to the same

22       extent as a member of the State Bar of Nevada.
21               10.      Petitioner agrees to comply with the standards of professional conduct required of

24       'lie members of the bar of this court.

25                I I.    Petitioner has disclosed in writing to the client that the applicant is not admitted to

26       practice in this jurisdiction and that the client has consented to such representation.
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                                                                  3
       Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 4 of 6




                That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

        FOR THE PURPOSES OF THIS CASE ONLY.


  4                                                                       Petitioner'
        STATE OF            Colorado

        COUNTY OF               Denver
 (1

                    Melisa H. Panagakos        , Petitioner, being first duly sworn, deposes and says:
  x     That the foregoing statements are true.

                                                    (Y-          AtiLL-a
                                                                       Peti loner's si
I0      Subscribed and sworn to before me this
II
            11441 day of          ()Q r7 u a tr-9                21)2-1
                                                                                     DENISE SCHOWE
                                                                                     NOTARY PUBLIC
                         Notary Pub      or   er ot t.ourt                         STATE OF COLORADO
                                                                                  NOTARY ID 19954015796
                                                                                MY COMMISSION EXPIRES 10/04/2023
I -s
10                      DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
                         THE BAR OF THIS COURT AND CONSENT THERETO.
17
                Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
Ih
                                                                            Kirsten A. Mihon
        believes it to be in the best interests of the client(s) to designate
I9                                                                       (name of local counsel)
        Attorney at Law, member of the State of Nevada and previously admitted to practice before the
        above-entitled Court as associate resident counsel in this action. The address and email address of
21
        said designated Nevada counsel is:
22

23                               Jackson Lewis P.C. 300 S. Fourth Street, Suite 900
                                                  (street address)
24
                          Las Vegas                                       Nevada                    ,     89101
                          (city)                                          (state)                        (zip code)
20                (702) 921 2460                     Kirsten.Miltongjacksonlewis.com
         (arca code + telephone number)                      (Email address)
27
28                                                           4                                                     Rev. 5/1(,
 Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 5 of 6




 I   By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
 2   agreement and authorization for the designated resident admitted counsel to sign stipulations

 3   binding on all of us.
 4

 5                 APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6
 7          The undersigned party(ies) appoint(s)               Kirsten A, Milton
                                                           (name of local counsel)
     his/her/their Designated Resident Nevada Counsel in this case.


                                                         'r     1_
                                           (pa rt y's    natue)
                                          Jeanette McKay, Director of Legal Affairs, Landry's Inc.
                                          (type or print party nameTiiire)

                                          (-paity-l:s—srgiiattire)



                                          (type LK print party name:tifie)

                              CONSENT OF DESIGNEE
            The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

19

20                                             si:nate         esident Neva a ounce s signature

21                                         14401                           Kirsten.Milton@jacksonlovis.com
                                           Bar number                      Email address
1)


23
     APPROVED:
                      11th day of January, 2021.
14
     Dated: tlik         day of                         , 20
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    Case 2:20-cv-02274-RFB-NJK Document 11 Filed 01/11/21 Page 6 of 6




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STATE OF COLORADO, ss:

      I, Cheryl Stevens                          Clerk of the Supreme Court of the State of
Colorado, do hereby certify that


                    Melisa Hallie Panagakos
has been duly licensed and admitted to practice as an


         (ATTORNEY AND COUNSELOR AT °CAW
within this State; and that his/her name appears upon the Roll of Attorneys
                                                                                 th
and Counselors at Law in my office of date the                                  4

day of     November                             A. D.          2013 and that at the date hereof

the said         Melisa iiallip Panagakos
is in good standing at this Bar.

                       IN WITNESS WHEREOF, I have hereunto subscribed my name and
                       affixed the Seal of said Supreme Court, at Denver, in said State, this
                                7 th
                                                      day of       January            A. D   2021

                                                                   Cheryl Stevens
                                                                                           Clerk
                                1
                           By
                                                                                  - Deputy Clerk
